






THIS OPINION HAS NO
  PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY
  PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

	
		
			
				The State, Respondent,
				v.
				Clifton Lyles, Appellant.
			
		
	


Appeal From York County
&nbsp;Roger L. Couch , Circuit Court Judge
Unpublished Opinion No. 2008-UP-223
Submitted April 1, 2008  Filed April 11,
  2008&nbsp;&nbsp;&nbsp; 
APPEAL DISMISSED


	
		
			
				Appellate Defender Eleanor Duffy Cleary, of Columbia, for
  Appellant.
				Attorney General Henry Dargan McMaster, Chief Deputy Attorney
  General John W. McIntosh, Assistant Deputy Attorney General Salley W. Elliott, all
  of Columbia; and Solicitor Kevin Scott Brackett, of York, for Respondent.
			
		
	

PER CURIAM: Clifton Lyles appeals his conviction and sentence for
  trafficking crack cocaine, arguing the trial court erred by admitting his
  involuntary statement.&nbsp; Lyles also asserts numerous pro se arguments.&nbsp; After a thorough review of
  the record, counsels brief, and Lyles pro se brief pursuant to Anders
    v. California, 386 U.S. 738 (1967), and State v. Williams, 305 S.C.
  116, 406 S.E.2d 357 (1991), we dismiss[1] Lyles appeal and grant counsels motion to be relieved. 
APPEAL
  DISMISSED.
ANDERSON, SHORT, and THOMAS, JJ., concur.


[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR.

